Case 1:98-cr-00038-JMS-MJD Document 7 Filed 01/27/12 Page 1 of 5 PageID #: 213




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION


UNITED STATES OF AMERICA,                    )
                                             )
               Plaintiff,                    )
                                             )
       v.                                    )
                                             )       CAUSE NO. 1:98-cr-00038-LJM-KPF
                                             )
DENNIS JONES, a/k/a “Denny Mo”,              )
a/k/a “Rick York”,                           )
                                             )
               Defendant.                    )


        GOVERNMENT’S RESPONSE IN OPPOSITION TO DEFENDANT’S
       MOTION TO REDUCE SENTENCE PURSUANT TO 18 U.S.C. § 3582(c)(2)

       Now comes the United States of America by counsel Joseph H. Hogsett, United States

Attorney, and Melanie C. Conour, Assistant United States Attorney, and presents the following

argument in opposition to the defendant’s motion:

                               PROCEDURAL BACKGROUND

       1. Contrary to the assertions of the defendant, Dennis Jones (Jones), he is not “currently

serving a term of imprisonment imposed following his plea of guilty to conspiracy to possess

with intent to distribute 50 grams or more of crack cocaine.” Jones did not enter a plea of guilty

and he was neither charged nor convicted of a “conspiracy to possess and distribute 50 grams or

more of crack cocaine.”

       2. Jones was convicted of drug trafficking and money laundering following a trial by

jury that began on July 7, 1999, and concluded September 4, 1999. More specifically, Jones was

one of thirteen defendants charged by a superseding indictment returned on June 30, 1998, and

after only two defendants entered pleas of guilty, he was tried with the other ten remaining co-
Case 1:98-cr-00038-JMS-MJD Document 7 Filed 01/27/12 Page 2 of 5 PageID #: 214



defendants. Jones was convicted of Count One, conspiring, from in or around 1992, through and

including late 1997 or early 1998, to possess with intent to distribute and to distribute more than

five kilograms of cocaine, a Schedule II, Narcotic Controlled Substance, in violation of Title 21,

United States Code, Sections 841(a)(1) and 846. Jones was also convicted of Count Seven,

conspiring to launder the proceeds of that conspiracy, in violation of Title 18, United States

Code, Sections 1956 (a)(1)(A)(I) and (h).

       3. Jones was sentenced to life imprisonment on December 10, 1999, pursuant to the

United States Sentencing Guidelines, Section 2D1.1 (d)(1), which cross referenced U.S.S.G.,

Section 2A1.1, murder of a government informant. Jones’ conviction was affirmed but sentence

vacated and remanded for sentencing without application of the murder cross-reference,

concerning the murder of a confidential informant which Jones assisted in cleaning up and

attempting to conceal.

       4. On November 15, 2002, Jones was re-sentenced. Jones’ applicable sentencing range

was based on a conservative estimate that Jones was personally accountable for 50 to 150

kilograms of powder cocaine and at least 1.5 kilograms of crack cocaine. No more specific

finding of amounts attributable to Jones was made, as none was necessary. The amounts placed

Jones in level 38, the highest level available on the sentencing guidelines table, under U.S.S.G.,

Section 2D1.1(c)(1). Jones sentencing range was further enhanced based upon the possession

and use of firearms.

       5. Jones unsuccessfully moved for a sentence reduction based on the retroactive

sentencing guideline amendment effective in 2007. Jones now asserts that he should receive the

benefit of the newly amended, and retroactive, sentencing guideline for crack cocaine effective



                                                 2
Case 1:98-cr-00038-JMS-MJD Document 7 Filed 01/27/12 Page 3 of 5 PageID #: 215



in 2011. Jones’ argument is factually inaccurate and without merit. Not only was Jones

sentenced in regard to both powder and crack cocaine, the weight of these controlled substances,

even under the last amended guideline applicable to crack cocaine, does not warrant a lesser

sentence.

       6. Trial testimony tied Anthony Spradley to 500 to 1,000 kilograms of cocaine during the

course of the charged conspiracy of which he was the leader and Jones was a trusted member of

the conspiracy from beginning to end. Willie Boddie, another leader of the conspiracy with

whom Jones resided and worked in transporting, storing and distributing powder and crack

cocaine, was tied by trial testimony to at least 500 kilograms of cocaine. The testimony further

evidenced that on more than one occasion, Boddie cooked four to five kilograms of powder

cocaine into crack at a time. Jones was present on at least one of these occasions in 1995, as

noted in paragraph 29, of Jones’ Pre-Sentence Investigation Report. Jones was a full-term,

trusted confidant of the leaders of the conspiracy, a participant with first hand knowledge of the

quantities of powder and crack cocaine passing through the hands of the conspiracy. Therefore,

the evidence established that Jones should be held accountable for no less than the high end of

the conservative drug quantity estimates referenced in the Pre-Sentence Investigation Report as

attributable to him.

       7. 150 kilograms of powder cocaine converts to 30,000 kilograms of marijuana and

warrants imposition of a sentence at level 38 of the sentencing guideline table, under U.S.S.G.,

Section 2D1.1(c)(1), without reference to the crack cocaine Jones was also responsible for

possessing and distributing. Adding the conservatively estimated least amount of crack cocaine




                                                 3
Case 1:98-cr-00038-JMS-MJD Document 7 Filed 01/27/12 Page 4 of 5 PageID #: 216



for which Jones is accountable, the combined, marijuana equivalent is 35,356 kilograms, level

38.

       8. Therefore, the amendment to the sentencing guidelines for crack cocaine does not

change the level at which Jones is to be sentenced. Jones is responsible for and correctly

sentenced at base offense level 38, pursuant to U.S.S.G., Section 2D1.1, as amended, and further

enhanced by two levels for possession of firearms. Jones’ assertion that his sentence should be

modified based upon the retroactive amendment to the sentencing guidelines concerning crack

cocaine is without merit and should be denied.

       WHEREFORE, the government requests the Court to deny the defendant’s motion for

relief pursuant to 21 U.S.C. § 3582.

                                             Respectfully submitted,

                                             JOSEPH H. HOGSETT,
                                             United States Attorney



                                             S:/Melanie C. Conour
                                       By:   Melanie C. Conour
                                             Assistant United States Attorney




                                                 4
Case 1:98-cr-00038-JMS-MJD Document 7 Filed 01/27/12 Page 5 of 5 PageID #: 217



                                       CERTIFICATE OF SERVICE

       I hereby certify that on January 27, 2012, a copy of the foregoing Government Response

in Opposition to Motion For Relief Pursuant to Title 18, United States Code, Section 3582(c)

was filed electronically. Notice of this filing will be sent to the following parties by operation of

the Court’s electronic filing system. Parties may access this filing through the Court’s system.

       Juval Scott
       Indiana Federal Community Defenders, Inc.
       juval.scott@fd.org



                                              By:     S:/Melanie C. Conour
                                                      Melanie C. Conour
                                                      Assistant United States Attorney
                                                      Office of the United States Attorney
                                                      10 W. Market St., Suite 2100
                                                      Indianapolis, Indiana 46204-3048
                                                      Telephone: (317) 226-6333
                                                      Fax: (317) 226-6125
                                                      E-mail: Melanie.Conour@usdoj.gov




                                                  5
